Case 1:14-ml-02570-RLY-TAB Document 22557-1 Filed 08/19/22 Page 1 of 1 PageID #:
                                  132963



                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                           Case No. 1:14-ml-2570-RLY-TAB
  MARKETING, SALES PRACTICES AND
                                                                             MDL No. 2570
  PRODUCTS LIABILITY LITIGATION

  This Document Relates to Plaintiff:
  DELORES HORAN
  Civil Case #1:20-cv-80


       ORDER GRANTING MOTION TO SUBSTITUTE PARTY PLAINTIFF



        The Court has considered the Plaintiff’s Motion to Substitute Party Plaintiff.

 IT IS ORDERED that the Motion to Substitute Party Plaintiff is GRANTED, and Marsha

 Batchelor, on behalf of the Estate of Delores Horan, is substituted as Plaintiff in the above

 referenced action.

        Dated this _______ day of ___________, 2022.




                                                       RICHARD L. YOUNG, JUDGE
                                                       United States District Court
                                                       Southern District of Indiana
